It having been made to appear to the satisfaction of this court that B.L. Sinderson, the appellant in case No. A-1585 is a fugitive from justice and therefore is not subject to the jurisdiction of this court, and that appellant, Otis Tittle in causes Numbered A-1538, A-1646 and A-1647 is a fugitive from justice and is not subject to the jurisdiction of this court. It is therefore ordered by the court that said appeals of B.L. Sinderson and Otis Tittle be dismissed. But in causes No. A-1538 and A-1547 the appeals of T.W. Pritchett are not to be affected by this order. In cause No. A-1647 the appeal of Charles Webb is not to be affected by this order.
Mandates will issue at once in the cases against Otis Tittle and B.L. Sinderson.